         Case 3:23-cv-03461-TLT Document 108 Filed 08/05/24 Page 1 of 14




 1 KATIE TOWNSEND (SBN 254321)
   ktownsend@rcfp.org
 2 GRAYSON CLARY (pro hac vice)
   gclary@rcfp.org
 3
   REPORTERS COMMITTEE FOR
 4 FREEDOM OF THE PRESS
   1156 15th Street NW, Suite 1020
 5 Washington, D.C. 20005
   Telephone: (202) 795-9300
 6 Facsimile: (202) 795-9310

 7
     JEAN-PAUL JASSY (SBN 220513)
 8     jpjassy@jassyvick.com
     JASSY VICK CAROLAN LLP
 9   355 South Grand Avenue, Suite 2450
     Los Angeles, California 90071
10   Telephone:    310-870-7048
11   Facsimile:    310-870-7010

12 NICHOLAS R. HARTMANN (SBN 301049)
     nhartmann@jassyvick.com
13 JASSY VICK CAROLAN LLP
   601 Montgomery Street, Suite 850
14 San Francisco, California 94111

15 Telephone:     415-539-3399
   Facsimile:     415-539-3394
16
   Counsel for Non-Party Intervenor
17 JACOB SILVERMAN

18                              UNITED STATES DISTRICT COURT
19                            NORTHERN DISTRICT OF CALIFORNIA
20

21 COURTNEY MCMILLIAN and RONALD               Case No. 3:23-cv-03461-TLT
   COOPER,
22                                             REPLY IN SUPPORT OF MOTION OF
                Plaintiffs,                    NON-PARTY JACOB SILVERMAN TO
23                                             INTERVENE AND OPPOSE SEALING
        v.                                     JUDICIAL RECORDS
24

25 X CORP., f/k/a TWITTER, INC.,               DATE: October 1, 2024
   X HOLDINGS, ELON MUSK, DOES.                TIME: 2:00PM
26
                     Defendants.               Judge: Hon. Trina L. Thompson
27

28

       REPLY IN SUPPORT OF MOTION OF NON-PARTY JACOB SILVERMAN TO INTERVENE AND OPPOSE
                    SEALING JUDICIAL RECORDS –– CASE 3:23-cv-03461-TLT — PAGE i
             Case 3:23-cv-03461-TLT Document 108 Filed 08/05/24 Page 2 of 14




 1                                                        TABLE OF CONTENTS
                                                                                                                                            Page:
 2
      TABLE OF AUTHORITIES .............................................................................................................. iii
 3

 4 SUMMARY OF ARGUMENT ........................................................................................................... 1

 5 ARGUMENT ....................................................................................................................................... 2

 6 I.            The motion to intervene should be granted.............................................................................. 2

 7               A.        The motion to intervene is timely. ............................................................................... 3
 8               B.        Defendants are not prejudiced by being held to their burden to prove compelling
                           reasons to justify sealing the Disclosure Statement. .................................................... 5
 9
10 II.           The Disclosure Statement should not be sealed. ...................................................................... 6

11               A.        The First Amendment requires access to the Disclosure Statement. ........................... 6

12               B.        The common law requires access to the Disclosure Statement. .................................. 8

13               C.        Even under a good-cause standard, the Disclosure Statement should not be sealed. 10

14 CONCLUSION .................................................................................................................................. 10

15

16

17

18

19
20

21

22

23

24

25

26

27

28

          REPLY IN SUPPORT OF MOTION OF NON-PARTY JACOB SILVERMAN TO INTERVENE AND OPPOSE
                       SEALING JUDICIAL RECORDS –– CASE 3:23-cv-03461-TLT —PAGE ii
             Case 3:23-cv-03461-TLT Document 108 Filed 08/05/24 Page 3 of 14




 1                                                     TABLE OF AUTHORITIES

 2                                                                                                                                      Page(s):
      Cases:
 3
      Ark. Tchr. Ret. Sys. v. State St. Bank & Tr. Co.,
 4
        404 F. Supp. 3d 486 (D. Mass. 2018) .............................................................................................. 9
 5
      Beckman Indus., Inc. v. Int’l Ins. Co.,
 6      966 F.2d 470 (9th Cir. 1992) ........................................................................................................... 4

 7 Best Odds Corp. v. iBus Media Ltd.,
     No. 2:14-cv-00932, 2014 WL 5687730 (D. Nev. Nov. 4, 2014) ..................................................... 9
 8
   Blum v. Merrill Lynch Pierce Fenner & Smith Inc.,
 9   712 F.3d 1349 (9th Cir. 2013) ................................................................................................. 1, 4, 5
10
   Cosgrove v. Nat’l Fire & Marine Ins. Co.,
11   770 F. App’x 793 (9th Cir. 2019) ................................................................................................ 3, 5

12 Courthouse News Serv. v. Planet,
     947 F.3d 581 (9th Cir. 2020) ........................................................................................................... 6
13
   Ctr. for Auto Safety v. Chrysler Grp.,
14   809 F.3d 1092 (9th Cir. 2016) ......................................................................................................... 9
15
   Darton Archery, LLC v. Bowtech, LLC,
16   No. 23-cv-140, 2023 WL 2755760 (D. Del. Apr. 3, 2023) ............................................................. 2

17 Doe v. Mass. Inst. of Tech.,
     46 F.4th 61 (1st Cir. 2022) ............................................................................................................... 6
18
   El Vocero de Puerto Rico v. Puerto Rico,
19   508 U.S. 147 (1993) ......................................................................................................................... 7
20 Globe Newspaper Co. v. Super. Ct.,

21   457 U.S. 596 (1982) ......................................................................................................................... 7

22 Grosjean v. Am. Press Co.,
      297 U.S. 233 (1936) ....................................................................................................................... 10
23
   In re Copley Press,
24    518 F.3d 1022 (9th Cir. 2008) ..................................................................................................... 1, 6
25 In re Marriage of Burkle,

26    135 Cal. App. 4th 1045 (2006) .................................................................................................... 2, 8

27 Jones v. PGA Tour, Inc.,
     No. 22-cv-04486, 2023 WL 5520771 (N.D. Cal. Aug. 24, 2023) ............................................... 3, 4
28

          REPLY IN SUPPORT OF MOTION OF NON-PARTY JACOB SILVERMAN TO INTERVENE AND OPPOSE
                       SEALING JUDICIAL RECORDS –– CASE 3:23-cv-03461-TLT —PAGE iii
              Case 3:23-cv-03461-TLT Document 108 Filed 08/05/24 Page 4 of 14




 1 Kamakana v. City & County of Honolulu,
     447 F.3d 1172 (9th Cir. 2006) ......................................................................................................... 8
 2
   Mayer, v. Patriot Pickle Inc.,
 3   No. 23-CV-1299, 2024 WL 162881 (W.D.N.Y. Jan. 16, 2024) ...................................................... 9
 4
   Muhaymin v. City of Phoenix,
 5  No. CV-17-04565, 2021 WL 5173767 (D. Az. Nov. 3, 2021) .................................................... 1, 5

 6 Overstock.com, Inc. v. Goldman Sachs Group, Inc.,
     231 Cal. App. 4th 471 (2014) .......................................................................................................... 8
 7
   Packingham v. North Carolina,
 8   582 U.S. 98, 107 (2017) ......................................................................................................... 2, 8, 10
 9 Phillips ex rel. Estates of Byrd v. Gen. Motors Corp.,
10   307 F.3d 1206 (9th Cir. 2002) ....................................................................................................... 10

11 Press-Enter. Co. v. Super. Ct.,
     464 U.S. 501 (1984) ......................................................................................................................... 7
12
   Pub. Citizen v. Liggett Grp., Inc.,
13   858 F.2d 775 (1st Cir. 1988) ............................................................................................................ 3
14 San Jose Mercury News, Inc. v. U.S. Dist. Ct.,

15   187 F.3d 1096 (9th Cir. 1999) ................................................................................................. 1, 3, 5

16 Steel Erectors, Inc. v. AIM Steel Int’l, Inc.,
      312 F.R.D. 673 (S.D. Ga. 2016) .................................................................................................. 2, 8
17
   Valley Bank of Nev. Super. Ct.,
18    15 Cal. 3d 652 (1975) .................................................................................................................. 2, 8
19 Other Authorities:
20 Nate Raymond & Moira Warburton, Congress Approves Tougher Financial Disclosure Rules for

21   U.S. Judges, Reuters (Apr. 27, 2022) .............................................................................................. 7

22 Rules:

23 L.R. 7-11 .............................................................................................................................................. 4

24 L.R. 79-5 .......................................................................................................................................... 1, 4

25

26

27

28

           REPLY IN SUPPORT OF MOTION OF NON-PARTY JACOB SILVERMAN TO INTERVENE AND OPPOSE
                        SEALING JUDICIAL RECORDS –– CASE 3:23-cv-03461-TLT —PAGE iv
          Case 3:23-cv-03461-TLT Document 108 Filed 08/05/24 Page 5 of 14




 1                                          SUMMARY OF ARGUMENT

 2          Defendants—conceding, as they must, that “corporate disclosure statements are generally
 3 publicly available on court dockets,” Defs.’ Opp’n at 15 (ECF No. 105)1—are so unable to justify

 4 sealing the one they filed in this case that their main line of defense is this: Mr. Silverman, a non-

 5 party journalist, had just a four-day window in which to raise the press and public’s presumptive

 6 right of access to judicial records. Even a cursory effort to review this Court’s local rules and Ninth

 7 Circuit law would have made clear to Defendants that their argument is frivolous. See L.R. 79-

 8 5(g)(3) (providing that “non-parties may, at any time, file a motion requesting that the Court unseal

 9 a document,” including “after the case is closed”); San Jose Mercury News, Inc. v. U.S. Dist. Ct.,

10 187 F.3d 1096, 1101 (9th Cir. 1999) (“[D]elays measured in years have been tolerated where an

11 intervenor is pressing the public’s right of access to judicial records.”). The rest of Defendants’

12 arguments for secrecy are just as weak.

13          As to intervention, Defendants acknowledge that the only relevant question is timeliness, see
14 Defs.’ Opp’n at 9–10, and they have nothing to counter the “consensus among the courts of appeals

15 that intervention to challenge confidentiality orders may take place long after a case has been

16 terminated,” Blum v. Merrill Lynch Pierce Fenner & Smith Inc., 712 F.3d 1349, 1353 (9th Cir.

17 2013) (citation omitted). Timeliness is measured relative to prejudice, see id. at 1354, and the only

18 prejudice Defendants point to is that they must respond to Mr. Silverman’s arguments against

19 sealing the Disclosure Statement and might lose, see Defs.’ Opp’n at 11. But the mere fact that
20 Defendants “need to explain why the relevant records should remain sealed is not, itself, unduly

21 prejudicial. It is, after all, their burden to establish that either good cause or compelling reasons

22 justify curtailing the public’s right to access judicial records.” Muhaymin v. City of Phoenix, No.

23 CV-17-04565, 2021 WL 5173767, at *2 (D. Az. Nov. 3, 2021).

24          The merits are likewise straightforward. As Defendants concede, “corporate disclosure
25 statements are generally publicly available,” Defs.’ Opp’n at 15; that tradition of access settles that
26

27
     1
            Throughout this reply, citations to filings in this action use the internal pagination of the document in question.
28
                   NOTICE OF MOTION AND MOTION OF NON-PARTY JACOB SILVERMAN
            TO INTRVENE AND UNSEAL JUDICIAL RECORDS –– CASE NO. 3:23-cv-02217-SI —PAGE 1
         Case 3:23-cv-03461-TLT Document 108 Filed 08/05/24 Page 6 of 14




 1 a First Amendment presumption of access applies, see In re Copley Press, 518 F.3d 1022, 1026 n.2

 2 (9th Cir. 2008) (“[w]here access has traditionally been granted to the public,” the constitutional

 3 presumption attaches). And the entirety of Defendants’ effort to show a countervailing interest

 4 sufficient to overcome that presumption rests on the incorrect claim that California recognizes a

 5 constitutional right not to file corporate-disclosure information. Compare Defs.’ Opp’n at 13 (citing

 6 Valley Bank of Nev. Super. Ct., 15 Cal. 3d 652, 656 (1975)), with In re Marriage of Burkle, 135 Cal.

 7 App. 4th 1045, 1063 (2006) (Valley Bank “does not mean that parties who come to court,

 8 voluntarily or not, are entitled to privacy in respect of court records that are . . . presumptively

 9 public records”). Were that the case, Local Rule 3-15 would be invalid in all its applications, and
10 corporate disclosure statements would be sealed in each and every case heard in this District.

11          That is not the law. Whether under the First Amendment, common law, or good cause, the

12 result is ultimately the same: “Public disclosure that an individual has an ownership interest in an

13 entity created by a state cannot be said to constitute a clearly defined and serious injury,” Darton

14 Archery, LLC v. Bowtech, LLC, No. 23-cv-140, 2023 WL 2755760, at *1 (D. Del. Apr. 3, 2023).

15 Defendants’ bare desire to keep their Disclosure Statement secret trumps neither the “public interest

16 in disclosure of companies with whom a federal judge may have a conflict of interest,” Steel

17 Erectors, Inc. v. AIM Steel Int’l, Inc., 312 F.R.D. 673, 675 & n.3 (S.D. Ga. 2016), nor the public’s

18 interest in understanding the ownership of “the modern public square,” Packingham v. North

19 Carolina, 582 U.S. 98, 107 (2017). For the reasons herein and in Mr. Silverman’s opening
20 memorandum of law, the Disclosure Statement should not be sealed.

21                                               ARGUMENT

22 I.       The motion to intervene should be granted.
23          Defendants’ principal bid is a lengthy objection to Mr. Silverman’s intervention. As they
24 candidly reveal, Defendants believe they will be “prejudiced” because Mr. Silverman may

25 “succeed[] in opposing the sealing of the Statement,” Defs. Opp’n at 7. But Defendants’ fear that

26 they will fail to persuade this Court on the merits is not a valid reason to deny intervention. Courts

27

28

        REPLY IN SUPPORT OF MOTION OF NON-PARTY JACOB SILVERMAN TO INTERVENE AND OPPOSE
                     SEALING JUDICIAL RECORDS –– CASE 3:23-cv-03461-TLT — PAGE 2
          Case 3:23-cv-03461-TLT Document 108 Filed 08/05/24 Page 7 of 14




 1 routinely allow journalists to present more thorough arguments for access than the parties did,2 even

 2 where “years” have passed since an action was dismissed, San Jose Mercury News, 187 F.3d at

 3 1101, to say nothing of a motion filed while the case remained live, see Jones v. PGA Tour, Inc.,

 4 No. 22-cv-04486, 2023 WL 5520771, at *2–3 (N.D. Cal. Aug. 24, 2023) (granting the New York

 5 Times’ motion to intervene and unseal records on a “10- to 18-week delay,” hours before the action

 6 was dismissed). Indeed, intervention by members of the press and public to unseal judicial records

 7 is so routine that the Ninth Circuit has instructed district courts to simply proceed to the merits in

 8 that posture, see Cosgrove v. Nat’l Fire & Marine Ins. Co,. 770 F. App’x 793, 795 (9th Cir. 2019)

 9 (“In ruling on a motion to intervene for this purpose, a court must evaluate whether the
10 countervailing interests opposing public disclosure can overcome the presumption in favor of it.”

11 (emphasis added)). The same holds here.

12           A.     The motion to intervene is timely.

13           As Defendants agree, when a non-party moves to intervene for the limited purpose of
14 unsealing judicial records, the only question to be addressed is timeliness. 3 See Defs.’ Opp’n at. 14.

15 And the answer is clear: “[D]elays measured in years have been tolerated where an intervenor is

16 pressing the public’s right of access to judicial records,” San Jose Mercury News, 187 F.3d at 1101,

17 because where a right of access exists, “it exists today for the records of cases decided a hundred

18 years ago as surely as [it] does for lawsuits now in the early stages of motions litigation,” Pub.

19 Citizen v. Liggett Grp., Inc., 858 F.2d 775, 786 (1st Cir. 1988) (internal citation omitted).
20

21

22   2
            Defendants’ suggestion that the public’s interest in transparency was adequately
   represented by the Plaintiffs when Defendants’ motion to seal was unopposed is, to put it mildly,
23
   meritless. See San Jose Mercury News, 187 F.3d at 1101 (“The right of access to court documents
24 belongs to the public, and the Plaintiffs were in no position to bargain that right away.”); Binh Hoa
   Le v. Exeter Fin. Corp., 990 F.3d 410, 417 (5th Cir. 2021) (condemning “stipulated sealings . . .
25 where the parties agree, the busy district court accommodates, and nobody is left in the courtroom
   to question whether the decision satisfied the substantive requirements”).
26

27   3
          Mr. Silverman maintains that intervention as of right is also proper for the reasons stated in
   his opening memorandum. But because the permissive intervention inquiry is straightforward—and
28 avoids a question the Ninth Circuit has not yet addressed—this Reply focuses there.

         REPLY IN SUPPORT OF MOTION OF NON-PARTY JACOB SILVERMAN TO INTERVENE AND OPPOSE
                      SEALING JUDICIAL RECORDS –– CASE 3:23-cv-03461-TLT — PAGE 3
          Case 3:23-cv-03461-TLT Document 108 Filed 08/05/24 Page 8 of 14




 1           Defendants have failed to surface a single case in which a journalist or news organization

 2 was denied leave to intervene to unseal judicial records on timeliness grounds. Indeed, in a failure

 3 of candor with the Court, Defendants simply ignore clear and binding Ninth Circuit precedent that

 4 forecloses their argument that Mr. Silverman’s “request to intervene in a case where Plaintiffs’

 5 claims have been dismissed cannot be construed as timely.” Defs.’ Opp’n at 7. Setting aside the

 6 fact that Mr. Silverman moved to intervene before dismissal was granted, see PGA Tour, Inc., 2023

 7 WL 5520771, at *2–3 (granting a news organization’s motion to intervene in just that posture), this

 8 jurisdiction—and every other—follows the “consensus among the courts of appeals that

 9 intervention to challenge confidentiality orders may take place long after a case has been
10 terminated.” Blum, 712 F.3d at 1353 (internal citation omitted) (collecting cases); see also

11 Beckman Indus., Inc. v. Int’l Ins. Co., 966 F.2d 470, 471 (9th Cir. 1992) (two years after dismissal).

12           Rather than acknowledge that authority, Defendants insist that members of the press and

13 public have just four days after a party files a motion to seal to learn of the case and the pending

14 sealing motion, obtain counsel, and file a full-fledged motion to intervene to object to sealing. See

15 Defs.’ Opp’n at 14 (citing Civ. L.R. 7-11(b)). Setting aside the fact that such an approach would be

16 utterly unworkable, this Court’s Local Rules say no such thing. Local Rule 7-11(b) is addressed to

17 the parties, see L.R. 7-11(b) (referencing service on the “other parties”), while Local Rule 79-

18 5(g)(3) governs motions to unseal judicial records brought by “non-parties” like Mr. Silverman.

19 L.R. 79-5(g)(3).4 And that Rule, for its part, expressly provides that “non-parties may, at any time,
20 file a motion requesting that the Court unseal a document”—including “after the case is closed.” Id.

21 (emphasis added); see also, e.g., PGA Tour, Inc., 2023 WL 5520771, at *2–3 (citing L.R. 79-5(g)(3)

22 in granting a motion to intervene and unseal filed several hours before the action was dismissed).

23           Just as fundamentally, though, the passage of time is relevant to the intervention inquiry

24 only if it causes prejudice to a party. See Blum, 712 F.3d at 1354 (“Rule 24(b)’s timeliness

25 requirement is to prevent prejudice in the adjudication of rights of the existing parties” (internal

26

27   4    Further underlining the point, Local Rule 7-11(b) applies only to an “Opposition to or
   Support for Motion for Administrative Relief,” which is not what Mr. Silverman filed. He filed a
28 standalone motion to intervene, which is why Defendants filed an opposition rather than a reply.

         REPLY IN SUPPORT OF MOTION OF NON-PARTY JACOB SILVERMAN TO INTERVENE AND OPPOSE
                      SEALING JUDICIAL RECORDS –– CASE 3:23-cv-03461-TLT — PAGE 4
          Case 3:23-cv-03461-TLT Document 108 Filed 08/05/24 Page 9 of 14




 1 citation omitted)). And as discussed below, Defendants’ arguments as to prejudice not only have

 2 nothing to do with the timing of Mr. Silverman’s motion, they lack merit on their own terms.

 3          B.      Defendants are not prejudiced by being held to their burden to prove
                    compelling reasons to justify sealing the Disclosure Statement.
 4
            Prejudice is rarely, if ever, a bar to a motion to intervene to unseal judicial records:
 5
     “[A]ssuming an intervenor does assert a legitimate, presumptive right to open the court record of a
 6
     particular dispute, the potential burden or inequity to the parties should affect not the right to
 7
     intervene but, rather, the court’s evaluation of the merits of the applicant’s motion[.]” San Jose
 8
     Mercury News, 187 F.3d at 1101. In other words, whether Defendants can demonstrate cognizable
 9
     harm if the Disclosure Statement is unsealed is a merits question, not a reason to avoid reaching the
10
     merits. See Cosgrove, 770 F. App’x at 795. And the rule in this jurisdiction, as Local Rule 79-5
11
     reflects, is that prejudice can rarely, if ever, be found in closed cases. See Blum, 712 F.3d at 1354
12
     (prejudice “not present when the existing parties have settled their dispute and intervention is for a
13
     collateral purpose” (internal citation omitted)).
14
            Defendants offer no basis for departing from that rule here. Again, they fail to cite a single
15
     case denying a journalist’s motion to intervene to unseal judicial records on the basis of prejudice.
16
     Instead, Defendants object without citation to that they do not want Mr. Silverman to “succeed[] in
17
     opposing the sealing of the [Disclosure] Statement.” Defs.’ Opp’n at 7, and that they resent
18
     “litigat[ing] the sealing of the Statement when the parties had already agreed that Plaintiffs would
19
     not oppose such a sealing,” id. at 9. But those complaints could just as well apply to every motion
20
     to intervene—they have nothing to do with whether Mr. Silverman intervened one day or one
21
     decade after the motion to seal was filed—and the fact that Plaintiffs did not oppose secrecy makes
22
     it more, not less, important that Mr. Silverman be heard: “The right of access to court documents
23
     belongs to the public, and the Plaintiffs were in no position to bargain that right away.” San Jose
24
     Mercury News, 187 F.3d at 1101.
25
             At base, Defendants’ only complaint is that they “will need to explain why the relevant
26
     records should remain sealed.” Muhaymin, 2021 WL 5173767, at *2. That is the point of the right
27
     of access, not prejudice. After all, it is Defendants’ “burden to establish that either good cause or
28

       REPLY IN SUPPORT OF MOTION OF NON-PARTY JACOB SILVERMAN TO INTERVENE AND OPPOSE
                    SEALING JUDICIAL RECORDS –– CASE 3:23-cv-03461-TLT — PAGE 5
          Case 3:23-cv-03461-TLT Document 108 Filed 08/05/24 Page 10 of 14




 1 compelling reasons justify curtailing the public’s right of access to judicial records.” Id. And as

 2 Defendants’ efforts to avoid the issue underline, they cannot meet that burden in this case.

 3 II.       The Disclosure Statement should not be sealed.

 4           Conceding that “corporate disclosure statements are generally publicly available on court
 5 dockets,” Defs.’ Opp’n at 15, Defendants contend theirs should be kept uniquely secret. The

 6 reasons they offer—which would describe every such statement—do not satisfy their burden under

 7 any plausibly relevant standard: not the First Amendment, not common law, and not good cause.

 8           A.     The First Amendment requires access to the Disclosure Statement.
 9           “[B]oth our common experience and the logical extension of First Amendment principles
10 leads to the conclusion that the press’s right of access to civil proceedings and documents fits

11 squarely within the First Amendment’s protections.” Courthouse News Serv. v. Planet, 947 F.3d

12 581, 591 (9th Cir. 2020) (internal citation and alteration omitted).5 And the same considerations of

13 experience and logic make clear that the presumption attaches to corporate disclosure statements in

14 particular. As Defendants concede, experience supports a First Amendment presumption of access

15 to disclosure statements. See Defs.’ Opp’n at 19. And that ends the analysis: “Where access has

16 traditionally been granted to the public without serious adverse consequences, logic necessarily

17 follows. It is only where access has traditionally not been granted that we look to logic.” In re

18 Copley Press, 518 F.3d at 1026 n.2.

19           Logic, in any event, would lead to the same result. Defendants’ suggestion that public
20 access to disclosure statements plays no positive role in the judicial process is, frankly, ridiculous.

21 Courts have forthrightly recognized the “contribution to governance of investigative reporting” that

22 exposes “judicial conflicts of interest.” Doe v. Mass. Inst. of Tech., 46 F.4th 61, 68–69 (1st Cir.

23 2022) (internal citation omitted). Just three years ago, an investigation by the Wall Street Journal

24

25
     5    Again, Defendants’ brief failed to draw the Court’s attention to binding Circuit precedent.
26
   See Defs.’ Opp’n at 14 n.3 (citing a 2019 decision to argue that “a court within this district
27 questioned whether the First Amendment standard even applied to access to civil proceedings”
   without acknowledging the Ninth Circuit’s contrary holding in Courthouse News in 2020).
28

         REPLY IN SUPPORT OF MOTION OF NON-PARTY JACOB SILVERMAN TO INTERVENE AND OPPOSE
                      SEALING JUDICIAL RECORDS –– CASE 3:23-cv-03461-TLT — PAGE 6
          Case 3:23-cv-03461-TLT Document 108 Filed 08/05/24 Page 11 of 14




 1 relied on corporate disclosure statements to surface nearly 700 cases in which more than 100 federal

 2 judges improperly failed to recuse—prompting a wave of vacated rulings, reforms from the Judicial

 3 Conference, and bipartisan legislation. See Nate Raymond & Moira Warburton, Congress Approves

 4 Tougher Financial Disclosure Rules for U.S. Judges, Reuters (Apr. 27, 2022),

 5 https://bit.ly/4c5ABNr.

 6           Without experience or logic to stand on, Defendants lean on a non-sequitur, arguing that

 7 “while corporate disclosure statements are generally publicly available on court dockets, the

 8 information regarding the identities of privately held companies’ shareholders is not publicly

 9 available information.” Defs.’ Opp’n at 15.6 That attempt to conflate the two stages of the right of
10 access inquiry is precisely the type of gambit the Supreme Court squarely rejected in Globe

11 Newspaper. There, Massachusetts attempted to evade the presumption of access to criminal trials

12 by disputing the history of access to “the testimony of minor sex victims” in particular. Globe

13 Newspaper Co. v. Super. Ct., 457 U.S. 596, 605 n.13 (1982). But the Justices rejected that evasion,

14 emphasizing that the presumption of access attaches to criminal trials “as a general matter” and

15 “[w]hether the First Amendment right of access to criminal trials can be restricted in the context of

16 any particular criminal trial . . . depends not on the historical openness of that type of criminal trial

17 but rather on the state interests assertedly supporting the restriction.” Id. So too here. Whatever

18 information Defendants happen to have included in this Disclosure Statement, they cannot avoid

19 confronting the presumption of access to such statements “as a general matter.” Id
20           And as to this Disclosure Statement, Defendants cannot carry their burden to show that

21 sealing “is essential to preserve higher values and is narrowly tailored to serve that interest.”

22 Press-Enter. Co. v. Super. Ct., 464 U.S. 501, 510 (1984). The entirety of Defendants’ discussion of

23 countervailing interests is this: “Article I, section 1 of the California Constitution provides a

24

25   6     Defendants also include an extended comparison of the local rules of this Court and the
26 Southern  District of Georgia, but it is difficult to understand why: The First Amendment “does not
   look to the particular practice of any one jurisdiction but instead to the experience in that type or
27 kind of hearing throughout the United States.” El Vocero de Puerto Rico v. Puerto Rico, 508 U.S.
   147, 150 (1993) (per curiam) (internal citation omitted). Defendants do not dispute that disclosure
28 statements are generally available to the public in this and every other jurisdiction.

         REPLY IN SUPPORT OF MOTION OF NON-PARTY JACOB SILVERMAN TO INTERVENE AND OPPOSE
                      SEALING JUDICIAL RECORDS –– CASE 3:23-cv-03461-TLT — PAGE 7
         Case 3:23-cv-03461-TLT Document 108 Filed 08/05/24 Page 12 of 14




 1 constitutional inalienable right to privacy, which includes the privacy of a person’s financial

 2 information, such as investments and financial holdings.” Defs.’ Opp’n at 13 (citing Valley Bank,

 3 15 Cal. 3d at 656)). But California law says no such thing. As Mr. Silverman’s opening brief

 4 pointed out, setting aside the fact that Valley Bank dealt with consumer banking information—not a

 5 corporation’s ownership information—that case spoke to the scope of discovery; it has nothing to

 6 say about the standard for sealing judicial records. See Overstock.com, Inc. v. Goldman Sachs

 7 Group, Inc., 231 Cal. App. 4th 471, 504 (2014) (distinguishing Valley Bank on that ground); see

 8 also In re Marriage of Burkle, 135 Cal. App. 4th at 1063 (Valley Bank “does not mean that parties

 9 who come to court, voluntarily or not, are entitled to privacy in respect of court records that are . . .
10 presumptively public records”). Defendants entirely fail to respond.

11          As Mr. Silverman’s opening memorandum explained, the overwhelming weight of

12 persuasive authority that has dealt with corporate-ownership information holds that avoiding

13 disclosure of an ownership interest is not a valid interest—let alone a compelling one. See Mem. of

14 P. & A. at 20 & n.4 (ECF No. 96) (collecting cases). Defendants have offered nothing that would

15 overcome “the public interest in disclosure of companies with whom a federal judge may have a

16 conflict of interest,” Steel Erectors, 312 F.R.D. at 675, to say nothing of the heightened public

17 interest in understanding who owns one of “the most powerful mechanisms available to a private

18 citizen to make his or her voice heard.” Packingham, 582 U.S. at 107. The First Amendment

19 requires public access to the Disclosure Statement.
20          B.      The common law requires access to the Disclosure Statement.

21          Defendants likewise cannot justify secrecy under the common law, which would require
22 showing “compelling reasons . . . that outweigh the general history of access and the public policies

23 favoring disclosure.” Kamakana v. City & County of Honolulu, 447 F.3d 1172, 1178–79 (9th Cir.

24 2006) (citations omitted). Protesting that burden, Defendants insist that “[t]he Statement was not

25 part of any dispositive motion and was not tangentially or even remotely related in any way to the

26 merits of this action.” Defs.’ Opp’n at 2. That claim makes no sense. It would have been a grave

27 ethical breach for this Court to grant Defendants’ motion to dismiss without first considering the

28 Disclosure Statement and evaluating whether to recuse; that is surely not what happened. And

       REPLY IN SUPPORT OF MOTION OF NON-PARTY JACOB SILVERMAN TO INTERVENE AND OPPOSE
                    SEALING JUDICIAL RECORDS –– CASE 3:23-cv-03461-TLT — PAGE 8
         Case 3:23-cv-03461-TLT Document 108 Filed 08/05/24 Page 13 of 14




 1 because consideration of the Disclosure Statement was a mandatory prerequisite to this Court’s

 2 power to adjudicate the merits, other courts have had no difficulty concluding such statements are

 3 “central to the performance of the judicial function.” Mayer, v. Patriot Pickle Inc., No. 23-CV-

 4 1299, 2024 WL 162881, at *5 (W.D.N.Y. Jan. 16, 2024) (internal citation omitted). The point of

 5 the common law presumption is to promote “confidence in the administration of justice,” Ctr. for

 6 Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1096 (9th Cir. 2016) (internal citation omitted), and no

 7 issue is more central to “respect for the legal system” than the possible existence of grounds for

 8 recusal. Ark. Tchr. Ret. Sys. v. State St. Bank & Tr. Co., 404 F. Supp. 3d 486, 512 n.16 (D. Mass.

 9 2018).
10          Defendants also continue to cling to Best Odds Corp. v. iBus Media Ltd., No. 2:14-cv-

11 00932, 2014 WL 5687730 (D. Nev. Nov. 4, 2014). But as Mr. Silverman’s opening brief explained,

12 Best Odds was decided under a standard that the Ninth Circuit rejected in Center for Auto Safety,

13 and it appears to have never been cited by any other court for its analysis of the issue. No wonder,

14 because the decision’s entire analysis of whether a presumption of access attached is this sentence:

15 “iBus Media Limited’s motion is non-dispositive.” Id. at *2. But even putting that aside, Best Odds

16 is distinguishable. The statement there was sealed “as a prophylactic against potential litigation

17 abuses that will needlessly increase the cost of litigation.” Id. at *3; see also id. at *1 (noting that

18 the plaintiff had “a history of filing baseless ‘strike’ suits” and allegedly had filed the case solely “to

19 discover the identity of Defendants’ parent corporations in order to create additional leverage”).
20          As the Ninth Circuit has explained, courts may justifiably guard against that sort of risk on a

21 case-by-case basis. See Ctr. for Auto Safety, 809 F.3d at 1102 (noting that Rule 11 sanctions, not

22 shrinking the reach of the right of access, would be the remedy if litigants used frivolous litigation

23 to publicize information for improper purposes). But here, Defendants have not argued—and would

24 have no basis to argue—that Mr. Silverman’s motion has anything other than a journalistic purpose.

25 Indeed, Defendants do not even respond to Mr. Silverman’s discussion of the public interests at

26 stake. The legitimate public interest in access to the Disclosure Statement is substantial, and the

27 common law, too, requires that it be unsealed.

28

       REPLY IN SUPPORT OF MOTION OF NON-PARTY JACOB SILVERMAN TO INTERVENE AND OPPOSE
                    SEALING JUDICIAL RECORDS –– CASE 3:23-cv-03461-TLT — PAGE 9
         Case 3:23-cv-03461-TLT Document 108 Filed 08/05/24 Page 14 of 14




 1          C.      Even under a good-cause standard, the Disclosure Statement should not be
                    sealed.
 2
            Even if a good-cause standard applied (it does not), secrecy still would be improper in light
 3
     of the strong public interests favoring transparency. “For good cause to exist, the party seeking
 4
     protection bears the burden of showing specific prejudice or harm will result if no protective order
 5
     is granted,” Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1210–11 (9th Cir.
 6
     2002). And even where that showing is made, the court must go on to “balance[] the public and
 7
     private interests” at stake. Id. at 1211. As discussed above, Defendants have not offered a
 8
     legitimate interest in support of secrecy and there is nothing “specific” at all about their showing,
 9
     which would apply to every corporate disclosure statement filed in this District. Id. Mr.
10
     Silverman, for his part, seeks access to the Disclosure Statement for a legitimate—and for that
11
     matter vital—purpose: To promote “informed public opinion” on “the public and business affairs
12
     of the nation,” Grosjean v. Am. Press Co., 297 U.S. 233, 250 (1936), by enabling the public to
13
     better understand the ownership of one of “the most important places . . . for the exchange of views”
14
     in contemporary American life, Packingham, 582 U.S. at 104. Even under a good-cause analysis,
15
     the relevant balance of interests weighs heavily in favor of access.
16
                                                    CONCLUSION
17
            For the foregoing reasons, Mr. Silverman respectfully requests that the Court grant his
18
     motion to intervene and deny the motion to seal the Disclosure Statement.
19
     Dated: August 5, 2024
20

21                                                         s/ Katie Townsend
                                                           Katie Townsend
22                                                         REPORTERS COMMITTEE FOR FREEDOM
                                                           OF THE PRESS
23
                                                           s/ Nicholas Ryan Hartmann
24
                                                           Nicholas Ryan Hartmann
25                                                         JASSY VICK CAROLAN LLP
                                                           Counsel for Non-Party Intervenor
26                                                         JACOB SILVERMAN
27

28

       REPLY IN SUPPORT OF MOTION OF NON-PARTY JACOB SILVERMAN TO INTERVENE AND OPPOSE
                    SEALING JUDICIAL RECORDS –– CASE 3:23-cv-03461-TLT — PAGE 10
